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                            UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION


STATE OF TEXAS,
STATE OF MONTANA,

       Plaintiffs,

  v.                                              Case No. 6:24-cv-211-JDK

XAVIER BECERRA, in his official capacity
as Secretary of Health and Human Services;
MELANIE FONTES RAINER, in her
official capacity as Director of the Office for
Civil Rights; CENTERS FOR MEDICARE
& MEDICAID SERVICES; UNITED
STATES DEPARTMENT OF HEALTH
AND HUMAN SERVICES,

       Defendants.


           DEFENDANTS’ OPPOSITION TO PLAINTIFFS’ MOTION FOR
         TEMPORARY RESTRAINING ORDER, PRELIMINARY INJUNCTION,
                      AND STAY OF AGENCY ACTION
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                                          INTRODUCTION

          Section 1557 of the Affordable Care Act (“ACA”), 42 U.S.C. § 18116, prohibits discrimination

on the basis of race, color, national origin, sex, age, or disability in any health program or activity that

receives federal financial assistance. On May 6, 2024, the U.S. Department of Health and Human

Services (“HHS”) issued a Final Rule (“the Rule”) implementing § 1557’s nondiscrimination

protections and clarifying covered entities’ obligations under the statute.1 The Rule, among other

things, prohibits health insurance issuers that receive federal funds from providing coverage in a

discriminatory manner, requires covered health care providers and insurance issuers to provide

meaningful access to their services to individuals with limited English proficiency, reinforces federal

protections for religious freedom and conscience, and applies § 1557’s nondiscrimination

requirements to telehealth and patient care decision support tools. And, consistent with the Supreme

Court’s decision in Bostock v. Clayton County, 590 U.S. 644 (2020), the Rule clarifies that § 1557’s

prohibition against sex discrimination necessarily encompasses discrimination on the basis of sexual

orientation and gender identity.

          Plaintiffs Texas and Montana, however, wish to undo these efforts to effectuate § 1557’s

nondiscrimination requirements. In their motion for preliminary relief, they challenge only the

lawfulness of the Rule’s prohibition against gender identity discrimination, yet they seek to postpone

the effective date of the Rule in its entirety. Plaintiffs are not entitled to such extraordinary—and
extraordinarily sweeping—relief. They are not likely to succeed on the merits because the protections

against gender identity discrimination they challenge flow ineluctably from Bostock, which explained

that, as a matter of text and logic, discrimination on the basis of gender identity “necessarily entails

discrimination on the basis of sex.” 590 U.S. at 669. The Rule is thus wholly consistent with § 1557’s

prohibition on sex discrimination and is otherwise lawful. Plaintiffs also fail to demonstrate that they

will be imminently and irreparably harmed by the Rule. And the balance of the equities and public

interest weigh decidedly in favor of allowing the Rule—and the nondiscrimination protections it


1
    See Nondiscrimination in Health Programs and Activities, 89 Fed. Reg. 37,522 (May 6, 2024).
                                                     1
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implements—to go into effect. Plaintiffs’ motion for preliminary relief should accordingly be denied

in its entirety.

                                           BACKGROUND

I.       Statutory and Regulatory Background

         A.        Section 1557 of the Affordable Care Act

         Section 1557 of the ACA provides that “an individual shall not, on the ground[s] prohibited

under” various longstanding federal civil rights statutes—specifically, Title VI of the Civil Rights Act

of 1964, Title IX of the Education Amendments of 1972, the Age Discrimination Act of 1975, and

§ 504 of the Rehabilitation Act of 1973—“be excluded from participation in, be denied the benefits

of, or be subjected to discrimination under, any health program or activity, any part of which is

receiving Federal financial assistance.” 42 U.S.C. § 18116(a). In short, § 1557 prohibits discrimination

on the basis of race, color, national origin, sex, age, or disability in health programs or activities, any

part of which receive federal funds.2

         Section 1557 further provides that violations of its nondiscrimination requirements “shall” be

addressed via “[t]he enforcement mechanisms provided for and available under” the referenced civil

rights statutes, id., and those mechanisms include multiple layers of process and review. See, e.g., 20

U.S.C. § 1682 (Title IX); 42 U.S.C. § 2000d-1 (Title VI).3 Upon receiving a complaint or “any other

information indicat[ing]” a federal funding recipient’s possible noncompliance with § 1557, HHS’s
Office for Civil Rights (“OCR”) will first conduct an investigation, during which it will consider all

factors and circumstances “relevant to a determination as to whether the recipient failed to comply”

with the statute. 45 C.F.R. § 80.7(c). If OCR finds a “failure to comply,” it must then “inform the

recipient” of its noncompliance and seek to “resolve[]” the matter “by informal means.”                 Id.


2
  Section 1557 also addresses discrimination occurring under “any program or activity that is
administered by an Executive Agency or any entity established under” Title I of the ACA (e.g., State-
based marketplaces for health care coverage). 42 U.S.C. § 18116(a).
3
  Title VI’s and Title IX’s enforcement provisions are materially the same. Compare 42 U.S.C. § 2000d-
1, with 20 U.S.C. § 1682. The enforcement procedures under both statutes are also governed by the
same implementing regulations. See 45 C.F.R. § 86.71 (adopting and incorporating for purposes of
Title IX the “procedural provisions applicable to Title VI”); 45 C.F.R. §§ 80.6-.11 (Title VI).
                                                    2
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§ 80.7(d)(1); see 20 U.S.C. § 1682. If “compliance cannot be secured by voluntary means,” HHS may

choose to “effect[]” such compliance by terminating or withholding federal funding. 20 U.S.C.

§ 1682.4 But any decision to withhold funds must be preceded by “an express finding on the record,

after opportunity for hearing, of a failure to comply with” § 1557. Id. The required hearing is subject

to robust procedural protections. See 45 C.F.R. §§ 80.9, 81.1-.86. If a failure to comply is ultimately

found, HHS must submit a “full written report” to congressional committees before any withholding

of funds can take effect. 20 U.S.C. § 1682. And any such withholding “shall be limited in its effect to

the particular program, or part thereof, in which such noncompliance has been so found.” Id.

Moreover, any final decision by HHS to terminate or withdraw funding is subject to judicial review.

Id. § 1683. Accordingly, the ultimate arbiters of any alleged violation of § 1557 are Article III courts.

        B.       HHS’s 2024 Rule Implementing § 1557

        On May 6, 2024, HHS published a Final Rule implementing § 1557’s nondiscrimination

requirements. See 89 Fed. Reg. 37,522; see also 45 C.F.R. § 92.1 (“The purpose of this part is to

implement section 1557 of the [ACA] . . . .”).5 The Rule provides that “an individual must not, on the

basis of race, color, national origin, sex, age, disability, or any combination thereof, be excluded from

participation in, be denied the benefits of, or otherwise be subjected to discrimination under any health

program or activity operated by” an entity covered by the Rule. 45 C.F.R. § 92.101(a)(1).6 And as

relevant here, “[d]iscrimination on the basis of sex” includes discrimination on the basis of gender
identity. Id. § 92.101(a)(2)(iv).



4
  HHS may alternatively refer the matter to the U.S. Department of Justice to secure compliance “by
any other means authorized by law.” 20 U.S.C. § 1682; see 45 C.F.R. § 80.8(a). Even still, this
alternative is not available until HHS has determined that “compliance cannot be secured by voluntary
means.” 20 U.S.C. § 1682.
5
  Citations to the regulatory text moving forward will be to the Rule’s provisions as they will be codified
in the Code of Federal Regulations. See 89 Fed. Reg. at 37,691-703.
6
  The Rule defines “[c]overed entity” to include any “recipient of Federal financial assistance,”
including States. 45 C.F.R. § 92.4. “Health program or activity” is defined to encompass in relevant
part “[a]ny project, enterprise, venture, or undertaking” to “[p]rovide clinical, pharmaceutical, or
medical care” or to “[p]rovide or administer health-related services, health insurance coverage, or
other health-related coverage.” Id.
                                                    3
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        In addition to this general nondiscrimination provision, the Rule includes more specific

provisions that describe covered entities’ obligations under § 1557 in more detail. For instance, the

Rule requires covered entities to, among other things, “take reasonable steps to provide meaningful

access” to their health programs for “individual[s] with limited English proficiency,” 45 C.F.R.

§ 92.201; “ensure that communications with individuals with disabilities . . . are as effective as

communications with non-disabled individuals,” id. § 92.202; and use “patient care decision support

tools” in a nondiscriminatory manner, id. § 92.210. The Rule also describes more specifically the

nondiscrimination requirements to which insurance issuers and health care providers are subject.

        Section 92.207 of the Rule prohibits covered entities that provide or administer health

insurance from denying coverage, denying or limiting coverage for a claim, imposing additional cost

sharing, or imposing other limitations or restrictions on coverage “on the basis of race, color, national

origin, sex, age, disability, or any combination thereof.” Id. § 92.207(b)(1). Among other specific

prohibitions, insurance issuers may not deny coverage to an individual “based upon the individual’s

sex assigned at birth, gender identity, or gender otherwise recorded”; “implement a categorical

coverage exclusion or limitation for all health services related to gender transition or other gender-

affirming care”; or otherwise deny coverage “for specific health services related to gender transition

or other gender-affirming care if such denial . . . results in discrimination on the basis of sex.” Id. §

92.207(b)(3)-(5). Yet § 92.207 makes clear that “[n]othing in th[e] section requires coverage of any
health service where the covered entity has a legitimate, nondiscriminatory reason for denying or

limiting coverage of the health service or determining that such health service fails to meet applicable

coverage requirements, including reasonable medical management techniques such as medical

necessity requirements.” Id. § 92.207(c). For example, “a nondiscriminatory determination that care

is not medically necessary based on a patient’s anatomy or medical need is permissible.” 89 Fed. Reg.

at 37,607. A denial decision, however, cannot “be based on unlawful animus or bias, or constitute a

pretext for discrimination.” 45 C.F.R. § 92.207(c).

        Section 92.206 addresses sex discrimination specifically and requires health care providers to
“provide individuals equal access to [their] health programs and activities without discriminating on

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the basis of sex.” Id. § 92.206(a). Providers cannot, for instance, deny or limit health services,

“including those that have been typically or exclusively provided to, or associated with, individuals of

one sex,” based on a patient’s “sex assigned at birth, gender identity, or gender otherwise recorded.”

Id. § 92.206(b)(1). Nor can they “treat[] individuals differently or separat[e] them on the basis of sex

in a manner that subjects any individual to more than de minimis harm.” Id. § 92.206(b)(3); see 89 Fed.

Reg. at 37,593 (clarifying that the Rule does not prohibit “a covered entity from operating sex

separated programs and facilities”). And as relevant here, health care providers cannot deny or limit

health services sought for the purpose of gender transition or deny or limit other gender-affirming

care “that the covered entity would provide to an individual for other purposes if the denial or

limitation is based on an individual’s sex assigned at birth, gender identity, or gender otherwise

recorded.” Id. § 92.206(b)(4). But the Rule again makes clear that
        [n]othing in [§ 92.206] requires the provision of any health service where the covered
        entity has a legitimate, nondiscriminatory reason for denying or limiting that service,
        including where the covered entity typically declines to provide the health service to
        any individual or where the covered entity reasonably determines that such health
        service is not clinically appropriate for a particular individual.
Id. § 92.206(c). That is, the Rule “does not . . . require a specific standard of care or course of treatment

for any individual or otherwise interfere with individualized clinical judgment about the appropriate

course of care for a patient.” 89 Fed. Reg. at 37,595; see id. at 37,596 (underscoring that the Rule does

not “compel[] clinicians to provide a service that they do not believe is medically appropriate for a
patient”). It simply provides that decisions about care cannot “be based on unlawful animus or bias,

or constitute a pretext for discrimination.” 45 C.F.R. § 92.206(c).

        Finally, the Rule also includes revisions to nondiscrimination provisions found in Centers for

Medicare & Medicaid Services (“CMS”) regulations that govern Medicaid and the Children’s Health

Insurance Program (“CHIP”). See 42 C.F.R. §§ 438.3(d)(4), 438.206(c)(2), 440.262, 457.495(e). HHS

revised those regulations based on § 1557 as well as separate statutory authority under provisions of

the Social Security Act (“SSA”). See 89 Fed. Reg. at 37,668.7 The revised CMS regulations preclude

7
  See 42 U.S.C. § 1396a(a)(4) (authorizing the Secretary of HHS to adopt “methods of
administration . . . necessary for the proper and efficient operation of” the Medicaid State plan); id.
                                                     5
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Medicaid and CHIP programs and their contracted managed care plans from discriminating against

individuals “eligible to enroll on the basis of race; color; national origin; disability; or sex” and further

provide, as relevant here, that sex discrimination includes discrimination on the basis of gender

identity. 42 C.F.R. § 438.3(d)(4).

II.     Procedural History

        Plaintiffs filed this lawsuit on June 10, 2024, against the Secretary of HHS, the Director of

OCR, CMS, and HHS. Compl., ECF No. 1. They then filed a Motion for Temporary Restraining

Order, Preliminary Injunction, and Stay of Agency Action (“Motion”) the next day. ECF No. 2.

                                         LEGAL STANDARD

        A preliminary injunction “is an extraordinary and drastic remedy which should not be granted

unless the movant clearly carries the burden of persuasion.” Anibowei v. Morgan, 70 F.4th 898, 902 (5th

Cir. 2023) (citation omitted). Such relief is warranted only if the movant establishes “(1) a substantial

likelihood of success on the merits, (2) a substantial threat of irreparable injury if the injunction is not

issued, (3) that the threatened injury if the injunction is denied outweighs any harm that will result if

the injunction is granted, and (4) that the grant of an injunction will not disserve the public interest.”

Big Tyme Invests., L.L.C. v. Edwards, 985 F.3d 456, 463-64 (5th Cir. 2021). The same requirements apply

to a temporary restraining order, Janvey v. Alguire, 647 F.3d 585, 595 (5th Cir. 2011), as well as relief

under 5 U.S.C. § 705, see Career Colleges & Schs. of Tex. v. U.S. Dep’t of Educ., 98 F.4th 220, 255-56 (5th
Cir. 2024) (postponing the effective date of a Rule under § 705 after finding the preliminary injunction

factors had been satisfied). And preliminary relief should be denied if the movant fails to sufficiently

establish “any one of the four” requirements. Anibowei, 70 F.4th at 905 (citation omitted).

                                              ARGUMENT

        Plaintiffs seek to postpone the effective date of the entire Rule, see 5 U.S.C. § 705, and they


§ 1396a(a)(19) (requiring the Medicaid State plan to “provide such safeguards as may be necessary to
assure that” covered services are provided “in a manner consistent with . . . the best interests of the
recipients”); id. § 1397aa(a) (permitting the provision of funds to States to “enable them to initiate and
expand the provision of child health assistance to uninsured, low-income children in an effective and
efficient manner”); see also 89 Fed. Reg. at 37,668.
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also request a temporary restraining order and preliminary injunction enjoining Defendants from

“interpreting or enforcing” § 1557, the SSA, or “any implementing regulations” to prohibit

discrimination “based on sexual orientation or gender identity” or to require “performance of (or

insurance or other coverage of) abortions or gender-transition procedures or treatments.” Proposed

Order, ECF No. 2-3. Yet the only basis for this sweeping relief that Plaintiffs raise in their Motion is

that the Rule, according to them, unlawfully “reinterprets Title IX’s prohibition of discrimination ‘on

the basis of sex’”—which § 1557 directly incorporates—“to include discrimination on the basis of

‘gender identity.’” Motion at 1. They do not challenge any of the Rule’s provisions that do not

concern sex discrimination specifically. Nor do they meaningfully challenge the lawfulness of

prohibiting discrimination on any grounds other than gender identity.8 And even as to the Rule’s

prohibition on gender identity discrimination, Plaintiffs appear to challenge the Rule only to the extent

it would purportedly “compel physicians, hospitals, and States to perform and pay for” gender-

transition procedures. Motion 1; see id. 6 (“HHS exceeded its statutory authority when it promulgated

the Final Rule, which attempts to codify a legal duty to perform ‘gender-affirming’ medical activities

as a condition of receiving federal funds.”).9

        Given the narrow scope of Plaintiffs’ arguments, it would thus “be improper to enjoin

portions of the Rule that are unchallenged or for which [Plaintiffs] ha[ve] not shown a likelihood of

success on the merits.” Career Colleges, 98 F.4th at 255-56. And here, Plaintiffs’ Motion, even if broadly
construed, implicates only those provisions or facets of the Rule that concern discrimination on the


8
  Plaintiffs’ Proposed Order mentions “abortions” and “discrimination based on sexual orientation,”
ECF No. 2-3, but neither issue is addressed in their Motion. See City of Austin v. Kinder Morgan Tex.
Pipeline, LLC, 447 F. Supp. 3d 558, 568 n.7 (W.D. Tex. 2020) (noting that an argument not raised in a
movant’s brief “had been waived” for purposes of deciding a preliminary injunction motion).
9
  A corollary of Plaintiffs’ objection to the Rule’s prohibition against discrimination on the basis of
gender identity is that health care providers and health insurance issuers should be permitted to deny
care or coverage—including treatment for an ear infection, broken bone, or cancer—to an individual
simply because he or she is transgender. See, e.g., 45 C.F.R. § 92.206(b)(1) (prohibiting the denial of
“health services . . . to an individual based upon the individual’s . . . gender identity”). Defendants
assume Plaintiffs would not endorse such overt animus. Nonetheless, this point highlights the
problematic nature of the sweeping relief Plaintiffs seek here, which would presumably prohibit
enforcement of § 1557’s nondiscrimination protections even in the circumstances just described.
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basis of gender identity. The Court’s analysis and any potential relief should therefore be limited only

to those specific provisions. Furthermore, whether Plaintiffs are even entitled to that far more limited

relief principally hinges on a single legal question—namely, whether the Rule, by prohibiting

discrimination “on the basis of . . . [g]ender identity,” 45 C.F.R. § 92.101(a)(2)(iv), is contrary to

§ 1557’s prohibition of discrimination “on the basis of sex.” 20 U.S.C. § 1681(a); see 42 U.S.C.

§ 18116(a) (barring discrimination “on the ground prohibited under . . . Title IX”). It is not. Plaintiffs

are therefore unlikely to succeed on the merits of their challenge to the Rule. They also fall well short

of satisfying the other requirements for obtaining preliminary relief.

I.      Plaintiffs Are Not Likely To Succeed on the Merits

        Plaintiffs contend that they are entitled to preliminary relief because (1) HHS exceeded its

statutory authority by issuing a Rule that interprets § 1557’s prohibition of sex discrimination as

encompassing discrimination on the basis of gender identity; (2) the Rule’s prohibition against gender

identity discrimination is arbitrary and capricious; and (3) the Rule’s “gender-transition mandate” is

unconstitutional. Motion at 6-14 (citing 5 U.S.C. § 706(2)). All three arguments lack merit.

        A.      The Rule’s Prohibition of Discrimination on the Basis of Gender Identity Is
                Consistent with § 1557 and Does Not Exceed Statutory Authority
        Plaintiffs first argue that HHS, in promulgating a Rule providing that discrimination on the

basis of sex under § 1557 includes discrimination on the basis of gender identity, “exceeded its
statutory authority.” Motion at 6. They suggest as a threshold matter that HHS lacks authority “to

define ‘[d]iscrimination . . . on the basis of sex.’” Id. at 7. But the ACA expressly authorizes the

Secretary of HHS to “promulgate regulations to implement” § 1557’s nondiscrimination requirements.

42 U.S.C. § 18116(c). And the Rule, by clarifying what constitutes “[d]iscrimination on the basis of

sex” in the context of federally funded “health program[s] [and] activit[ies],” 45 C.F.R. § 92.101(a)(1)-

(2), serves that very objective.

        The crux of Plaintiffs’ exceeds-statutory-authority theory boils down to the argument that the

Rule’s prohibition of gender identity discrimination, 45 C.F.R. § 92.101(a)(2)(iv), is contrary to § 1557
because the latter’s “prohibition on sex-based discrimination is limited to biological sex” alone.

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Motion at 8. Yet the Supreme Court explained in Bostock, 590 U.S. 644 (2020), that “discrimination

based on . . . transgender status necessarily entails discrimination based on sex,” id. at 669, and that

reasoning squarely applies to § 1557’s prohibition on sex discrimination. 10

        Bostock addressed whether Title VII’s provision making it unlawful for an employer “to

discriminate against any individual . . . because of such individual’s . . . sex,” 42 U.S.C. § 2000e-2(a)(1),

prohibits an employer from firing someone “merely for being . . . transgender.” Bostock, 590 U.S. at

683. The Supreme Court answered that question in the affirmative, concluding in relevant part that

“[w]hen an employer fires an employee for being . . . transgender, it necessarily and intentionally

discriminates against that individual in part because of sex.” Id. at 665. “[P]roceed[ing] on the

assumption that ‘sex’ . . . refer[s] only to biological distinctions between male and female,” the Court

explained that Title VII’s “because of . . . sex” language plainly “incorporates the simple and traditional

standard of but-for causation,” meaning that the statute is violated whenever an employer

“intentionally fires an individual employee based in part on sex.” Id. at 655, 657, 659. The Court then

concluded that firing an employee for being transgender violates Title VII too because “it is impossible

to discriminate against a person for being . . . transgender” without also “discriminating against that

individual based on sex.” Id. at 660; see id. at 660-61 (“[T]ransgender status [is] inextricably bound up

with sex.”). The Court explained by way of illustration that if an employer fires a transgender woman

for being transgender, that employer “intentionally penalizes a person identified as male at birth for
traits or actions that it tolerates in an employee identified as female at birth.” Id. at 660. “[T]he

individual employee’s sex” thus “plays an unmistakable . . . role in the discharge decision.” Id. And

that “rel[iance] in part on an individual employee’s sex,” according to the Court, is precisely what Title

VII prohibits. Id. at 659.

        Bostock’s reasoning applies with equal force to § 1557. The statute prohibits in relevant part

“discrimination under[] any health program or activity” “on the ground prohibited under . . . [T]itle

IX,” 42 U.S.C. § 18116(a), and Title IX prohibits discrimination “on the basis of sex,” 20 U.S.C.

10
  The terms “gender identity” and “transgender status” “are often used interchangeably.” 89 Fed.
Reg. at 37,556. See also Bostock, 590 U.S. at 686 n.6 (Alito, J., dissenting).
                                                     9
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§ 1681(a).   And because “discrimination based on . . . transgender status necessarily entails

discrimination based on sex,” Bostock, 590 U.S. at 669, § 1557’s prohibition on sex-based

discrimination necessarily prohibits discrimination on the basis of gender identity as well. The latter

form of discrimination, in short, “cannot happen without” the former. Id. at 669. Indeed, just like

firing an employee for being transgender necessarily involves taking that employee’s sex into account,

a surgeon who refuses to perform a medically necessary procedure on a transgender man (i.e., an

individual who was assigned female at birth but has a male gender identity) that the surgeon would

otherwise perform on a patient who was assigned male at birth “unmistakabl[y] and impermissibl[y]”

denies an essential medical service based in part on a patient’s sex. Id. at 660. The Rule’s prohibition

of gender identity discrimination is therefore wholly consistent with § 1557’s nondiscrimination

provision.

        Plaintiffs assert that “Bostock does not apply to Section 1557” because Bostock specifically

addressed Title VII while § 1557 references Title IX, and they accuse the Rule of “conflat[ing]” the

former statute’s “because of . . . sex” language with the latter’s “on the basis of sex” language. Motion

at 9. But Plaintiffs offer no explanation for how “because of . . . sex” is materially different from “on

the basis of sex.” See Bostock, 590 U.S. at 654, 662, 664, 666 (using “because of” and “on the basis

of” interchangeably); see also Franklin v. Gwinnett Cnty. Pub. Schs., 503 U.S. 60, 75 (1992) (explaining that

“[w]hen a supervisor harasses a subordinate because of the subordinate’s sex,” the supervisor
“‘discriminate[s]’ on the basis of sex” under Title IX (emphasis added) (citation omitted)). Nor do they

explain why Bostock’s textual analysis of Title VII’s nondiscrimination provision cannot inform the

meaning of materially identical language used in another nondiscrimination statute like § 1557.

        Plaintiffs further note that Title VII and Title IX are different statutes that apply in “different

contexts.” Motion at 9. Yet the fact that Title VII concerns employment while Title IX concerns

discrimination in education programs says nothing about whether, as a matter of text and logic,

discrimination “because of” or “on the basis of” sex necessarily encompasses discrimination based on

gender identity. See Bostock, 590 U.S. at 659-62 (explaining that Bostock’s “straightforward rule”
regarding discrimination based on transgender status “emerges” from the “ordinary public meaning”

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of the statutory text); see also Lowrey v. Tex. A & M Univ. Sys., 117 F.3d 242, 252 n.18 (5th Cir. 1997)

(stating that Title IX’s anti-retaliation provision “is similar to those of title VII and the ADEA and

should be accorded a similar interpretation”). Moreover, courts, including the Fifth Circuit, routinely

look to interpretations of Title VII to inform Title IX. See, e.g., Franklin, 503 U.S. at 75 (citing Meritor

Sav. Bank, FSB v. Vinson, 477 U.S. 57 (1986), a Title VII case, in analyzing a Title IX claim); Cardner v.

Continental Airlines, Inc., 636 F.3d 172, 180 (5th Cir. 2011) (“[T]his court has interpreted Title IX as

being intended to prohibit a wide spectrum of discrimination . . . in the same manner as Title VII.”).

And other courts have expressly concluded that Bostock’s reasoning applies to § 1557. See Kadel v.

Folwell, 100 F.4th 122, 163-64 (4th Cir. 2024); Doe v. Snyder, 28 F.4th 103, 113-14 (9th Cir. 2022).

        Addressing Title IX specifically, Plaintiffs assert that the statute’s “text, structure, and

purpose” show that it was “intended to prohibit sex discrimination on the basis of biological differences

between males and females.” Motion at 7 (quoting Franciscan All., Inc. v. Burwell, 227 F. Supp. 3d 660,

687 (N.D. Tex. 2016)). But Bostock’s conclusion that “discrimination based on . . . transgender status

necessarily entails discrimination based on sex,” 590 U.S. at 669, presumed that very same

understanding of what “sex” means.           See id. at 655 (“[W]e proceed on the assumption that

‘sex’ . . . refer[s] only to biological distinctions between male and female.”). And to the extent

Plaintiffs invoke Congress’s intentions when enacting Title IX, see Motion at 7, the Bostock Court

disposed of near-identical arguments in relation to Title VII. See id. at 653 (“Those who adopted the
Civil Rights Act might not have anticipated their work would lead to this particular result.”); id. at 683

(“Judges are not free to overlook plain statutory commands on the strength of nothing more than

suppositions about intentions or guesswork about expectations.”).

        Plaintiffs’ remaining arguments about the Rule’s alleged incompatibility with § 1557 fare no

better. They claim that § 1557 “incorporated all of Title IX by reference,” including “numerous

separate provisions . . . that allow for sex-based distinctions,” thereby “confirming” that § 1557’s

“prohibition on sex-based discrimination is limited to biological sex.” Motion at 8. Plaintiffs misread

§ 1557’s plain text, which expressly incorporates only “the ground prohibited under” Title IX—
namely, sex, see 20 U.S.C. § 1681—and Title IX’s “enforcement mechanisms,” 42 U.S.C. § 18116(a);

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see 20 U.S.C. § 1682. If § 1557 incorporates Title IX in its entirety, there would have been no need to

include the latter language. See Nastase v. Barr, 964 F.3d 313, 317 (5th Cir. 2020) (“[W]hen interpreting

a statute, it is necessary to give meaning to all its words and to render none superfluous.”). In any

event, whatever the “separate provisions” in Title IX that Plaintiffs invoke, see Motion at 7, say about

the scope of liability under that statute, those provisions do not require dispensing with Bostock’s

reasoning that, as a textual matter, “discrimination based on . . . transgender status necessarily entails

discrimination based on sex.” 590 U.S. at 669.

        Plaintiffs additionally claim that § 1557 cannot encompass gender identity discrimination

because the statute incorporates the Rehabilitation Act’s prohibition on disability discrimination, see

29 U.S.C. § 794, and the Rehabilitation Act defines “disability” to exclude “transsexualism” and

“gender identity disorders not resulting from physical impairments,” see id. § 705(20)(F)(i). See Motion

at 9-10.11 Yet even accepting this argument at face value, that an individual asserting discrimination

on the basis of gender identity may not have a cause of action under the Rehabilitation Act in no way

precludes that individual from having a cause of action under a separate statute that prohibits sex-

based discrimination. Put another way, § 1557 protects gender identity discrimination precisely

because it prohibits discrimination on the basis of sex, irrespective of what the Rehabilitation Act says

about disability discrimination.

        B.      The Revised CMS Regulations Do Not Exceed Statutory Authority
        Plaintiffs’ separate argument that HHS exceeded its authority under the SSA by revising via

the Rule certain nondiscrimination provisions found in CMS regulations governing Medicaid and

CHIP, see id. at 10-11, should likewise be rejected. As a general matter, those regulations prohibit

discrimination on the basis of race, color, national origin, disability, or sex in Medicaid and CHIP

enrollment and require that state Medicaid and CHIP programs, and their contracted managed care

plans, also prohibit such discrimination. 42 C.F.R. §§ 438.3(d)(4), 440.262, 457.495(e). The Rule

11
  It should be noted that one court of appeals has held that gender dysphoria does not qualify as a
“gender identity disorder[] not resulting from physical impairments” and thus qualifies as a covered
disability under the Americans with Disabilities Act and the Rehabilitation Act. Williams v. Kincaid, 45
F.4th 759, 765-772 (4th Cir. 2022), cert. denied, 143 S. Ct. 2414 (2023).
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revises the regulations in relevant part to clarify that discrimination on the basis of sex “includ[es]”

discrimination on the basis of gender identity. Id.

        Medicaid and CHIP are joint federal-state programs that enable States to extend medical

coverage to certain low-income adults and children. See 42 U.S.C. § 1396, et seq.; id. § 1397aa, et seq.

To participate in either program, a state must create a plan that fulfills specific statutory conditions,

see 42 U.S.C. § 1396a(a); 42 U.S.C. §§ 1397aa-1397bb, and then submit that plan to HHS for approval.

Id. § 1396a(b); id. § 1397ff(a)-(c); 42 C.F.R. § 457.150(a)-(c). And upon approval, States administer

their plans, and the federal government provides funding to help defray costs.

        There is no dispute here that HHS, through CMS, may establish conditions on federal funding,

including conditions prohibiting recipients from discriminating based on certain protected

characteristics. See Cummings v. Premier Rehab Keller, P.L.L.C., 596 U.S. 212, 216 (2022). Nor is it

disputed that CMS has the authority to ensure that state Medicaid and CHIP programs receiving

federal funds are administered properly and efficiently, 42 U.S.C. § 1396a(a)(4), operate in a manner

“consistent with . . . the best interests of the recipients,” id. § 1396a(a)(19), and provide child health

assistance effectively and efficiently, id. § 1397aa(a). See 42 U.S.C. § 1302(a). There should likewise

be no dispute that the revised nondiscrimination requirements in the Rule advance these very goals.

By clarifying, consistent with Bostock, that sex discrimination includes gender identity discrimination,

the revised CMS regulations facilitate covered entities’ understanding of their nondiscrimination
obligations under Medicaid and CHIP. See 89 Fed. Reg. at 37,668. And by ensuring that “access to

care and services” is “provided in a non-discriminatory manner,” id., the revised regulations are also

wholly consistent with the “best interests” of beneficiaries, see 42 U.S.C. § 1396a(a)(19). HHS was

thus well within its authority to promulgate them.

C.      The Rule Is Not Arbitrary and Capricious

        Plaintiffs’ contention that the Rule “is arbitrary and capricious in several ways,” Motion at 12,

likewise lacks merit. The APA’s arbitrary and capricious standard is “highly deferential” and “focuses

on whether an agency articulated a rational connection between the facts found and the decision
made.” Frey v. U.S. Dep’t of Health & Human Servs., 920 F.3d 319, 326 (5th Cir. 2019). A reviewing

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court cannot “substitute [its] judgment for the agency’s.” Healthy Gulf v. U.S. Army Corps of Eng’rs, 81

F.4th 510, 520 (5th Cir. 2023). Rather, “the role of courts in reviewing arbitrary and capricious

challenges is to simply ensure that the agency has acted within a zone of reasonableness.” Biden v.

Missouri, 595 U.S. 87, 96 (2022) (citation omitted).

        As with their exceeds-statutory-authority theory, Plaintiffs’ arbitrary and capricious theory

focuses exclusively on the Rule’s prohibition of gender identity discrimination, and their distorted

characterizations of that prohibition simply cannot be squared with the Rule’s plain text. Contrary to

Plaintiffs’ assertion that the Rule will require health care providers “to ignore the medical and

biological differences between the sexes,” Motion at 12, the Rule acknowledges that “sex has biological

components” and that “knowledge of an individual’s biological attributes is an essential component

of providing high quality health care.” 89 Fed. Reg. at 37,575; see also id. at 37,593 (“Not all differential

treatment on the basis of sex constitutes unlawful discrimination under section 1557, and the final rule

does not prohibit all differential treatment.”). And contrary to Plaintiffs’ assertions that the Rule will

“undermine sound medical treatment” and prevent providers from “using their reasonable medical

judgment,” Motion at 12, the Rule expressly provides that care and treatment decisions comply with

the Rule so long as they are based on a “legitimate, nondiscriminatory reason,” including where a

health care provider “reasonably determines” that a particular service is “not clinically appropriate for

a particular individual.” 45 C.F.R. § 92.206(c); see 89 Fed. Reg. at 37,607 (“[T]his final rule would not
prohibit a covered entity from denying coverage for preventive health services for a transgender

patient where such care is not medically necessary . . . .”). The assertion that HHS “failed to consider

the negative effect” of certain treatments, Motion at 13, misses the mark for the same reasons.

        Plaintiffs additionally claim that HHS failed to offer a “reasoned explanation” of the Rule’s

“departure from the historic understanding of ‘sex’ as used in Title IX.” Motion at 12. But the Rule

does not “depart” from any prior understanding of “sex”; it simply recognizes that, as explained in

Bostock, discrimination on the basis of sex necessarily encompasses gender identity discrimination. 590

U.S. at 660-61. And the Rule in any event explains that its prohibition of gender identity discrimination
is “strong[ly] support[ed]” by Bostock and other case law, 89 Fed. Reg. at 37,574, and will help combat

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the “well[-]documented” discrimination that transgender individuals can face when accessing health

care and coverage, id. at 37,577. Plaintiffs also object to HHS’s determination that it was “not

necessary” to define “sex” in the Rule, see id. at 37,575, yet ignore HHS’s subsequent—and reasoned—

explanation for doing so. See id. (explaining that Bostock did not define the term “sex” either and

proceeded on the assumption that sex encompasses “biological distinctions between male and female”

and noting that the Rule provides a “non-exhaustive list” of what constitutes sex discrimination); see

also Healthy Gulf, 81 F.4th at 520 (requiring that an agency only “articulat[e] a satisfactory explanation

for its decision”). Such an objection is also beside the point—Plaintiffs’ only challenge in their Motion

is to the Rule’s prohibition on gender identity discrimination, and nowhere do they contend that HHS

arbitrarily failed to explain what discrimination on that basis means.

        Lastly, Plaintiffs accuse HHS of failing to “adequately consider the disproportionately negative

impact” on women and girls of the Rule’s prohibition on gender identity discrimination. Motion at

13. Yet they do not explain what that purportedly “negative impact” entails, and, in any event, the

Rule also expressly prohibits discrimination against women, see 45 C.F.R. § 92.101(a)(1).

D.      The Rule Is Not Contrary to the Constitution

        Finally, Plaintiffs offer two reasons why the Rule is purportedly “contrary to constitutional

right,” 5 U.S.C. § 706(2)(B), neither of which succeed. First, they claim that the Rule’s so-called

“gender-transition mandate” implicates the “major questions doctrine.” Motion at 13. Again, though,
Plaintiffs mischaracterize the Rule, which does not “require [the] provision of particular procedures”

nor “mandate coverage of any particular care,” whether gender-affirming or not. 89 Fed. Reg. at

37,533. The major questions doctrine, moreover, is not a standalone constitutional claim but rather

describes an interpretive approach that “counsels skepticism” in “certain extraordinary cases”

involving an agency’s assertion of “highly consequential power beyond what Congress could

reasonably be understood to have granted.” West Virginia v. EPA, 597 U.S. 697, 723-24, 732 (2022).

And nothing in the Rule implicates that doctrine here. HHS does not contend that Congress gave it

authority to decide as a matter of policy whether § 1557 prohibits discrimination based on gender
identity.   Instead, as the Supreme Court explained in Bostock, the Rule’s references to such

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discrimination reflects “policy decisions” made “by Congress . . . itself” in § 1557’s text. West Virginia,

597 U.S. at 723 (citation omitted); see Bostock, 590 U.S. at 683 (explaining that the Court’s conclusion

was “a necessary consequence” of the “broad language” that “Congress adopted” (emphasis added)).

Accordingly, just as the Supreme Court did not invoke the major questions doctrine when it endorsed

EEOC’s interpretation of Title VII in Bostock, there is no basis for invoking it here either.

        Second, Plaintiffs contend that the Rule is “unconstitutionally coercive” because it “force[s]”

States to comply with its provisions “under threat of the loss of all federal healthcare funds,” Motion

at 14, but this argument lacks merit as well. “Congress has broad power under the Spending Clause

of the Constitution to set the terms on which it disburses federal funds,” which includes the authority

to “prohibit[] recipients of federal financial assistance from discriminating based on certain protected

characteristics.” Cummings, 596 U.S. at 216. Such conditions on federal funds are lawful so long as “a

State has a legitimate choice whether to accept the federal conditions in exchange for federal funds.”

Nat’l Fed. of Indep. Bus. v. Sebelius, 567 U.S. 519, 578 (2012) (“NFIB”). And since the ACA’s enactment,

Plaintiffs have chosen to continue to accept funds from HHS while knowing that violations of § 1557’s

nondiscrimination requirements, including its prohibition on sex-based discrimination, could

potentially result in some of those funds being withheld. See 42 U.S.C. § 18116(a) (expressly

incorporating Title IX’s “enforcement mechanisms”); 20 U.S.C. § 1682. The Rule, which merely

clarifies § 1557’s scope in light of Bostock, does nothing to change the essential terms of that choice.
See Benning v. Georgia, 391 F.3d 1299, 1306 (11th Cir. 2004) (“[S]o long as a spending condition has a

clear and actionable prohibition of discrimination, it does not matter that the manner of that

discrimination can vary widely.”); see also Bostock, 590 U.S. at 680 (explaining that the Court’s holding

that Title VII prohibits firing employees on the basis of sexual orientation or transgender status “has

never hidden in a mousehole; it has been standing before us all along”).

        Plaintiffs cite NFIB, the lone Supreme Court case to have found a condition on federal funds

to be unconstitutionally coercive, as support for their claim that the Rule impermissibly imposes a

“new” and “coercive” condition requiring Texas and Montana to “provide ‘gender-affirming’
treatments in violation of state law.” Motion at 14. Yet the Rule does nothing of the sort. Nowhere

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does it require covered entities to provide specific types of care; it simply prohibits care and coverage

decisions that are “based on unlawful animus or bias.” 45 C.F.R. § 92.206(c); id. § 92.207(c). Nor

does the Rule impose “new” conditions; indeed, before the Rule, § 1557 prohibited recipients of

federal funds from discriminating on the basis of sex—which, as Bostock explained, necessarily

encompasses discrimination on the basis of transgender status as well, 590 U.S. at 660-61—and the

statute will still prohibit such discrimination after the Rule becomes effective.12 Because § 1557’s

nondiscrimination requirements, including its prohibition on gender identity discrimination, are

nothing like the dramatic and atypical conditions at issue in NFIB, see 567 U.S. at 579, 584 (noting that

the conditions in question were “far from the typical case” and were designed to “dramatically”

transform the Medicaid program), that one-of-a-kind case is inapplicable here.

        A final point: Plaintiffs suggest that Spending Clause legislation cannot “preempt state law,”

but rather “can only induce States to change their own laws.” Motion at 14. They offer no support

whatsoever for this proposition. And they are wrong as a legal matter. Valid Spending Clause

legislation is entitled to full preemptive force under the Supremacy Clause. U.S. Const. art. VI, cl. 2.

The Supreme Court has thus consistently applied ordinary preemption principles to spending

legislation, even where a State is not the recipient of federal funds. See, e.g., Coventry Health Care of Mo.,

Inc. v. Nevils, 581 U.S. 87, 95-99 (2017); Bennett v. Arkansas, 485 U.S. 395, 396 (1988) (per curiam).

II.     Plaintiffs Fail To Show Imminent Irreparable Harm
        Plaintiffs’ failure “to establish that there is a substantial likelihood that [they] will prevail on

the merits” is sufficient on its own to deny their request for preliminary relief. PCI Transp., Inc. v. Forth

Worth & W. R.R. Co., 418 F.3d 535, 545 (5th Cir. 2005). Yet Plaintiffs also fail to establish that they

will suffer an injury as a result of the Rule that is sufficiently imminent and irreparable to warrant the

extraordinary relief they seek.


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  To the extent Plaintiffs’ “constitutional” claim alleging coercive funding conditions hinges on their
argument that the Rule unlawfully applies Bostock to § 1557, such a claim is indistinguishable from
their statutory APA claim and should therefore be rejected. See Nw. Austin Mun. Util. Dist. No. One v.
Holder, 557 U.S. 193, 205 (2009) (“[I]t is a well-established principle . . . that normally the Court will
not decide a constitutional question if there is some other ground upon which to dispose of the case.”).
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        “Because a preliminary injunction ‘may only be awarded upon a clear showing that the plaintiff

is entitled to such relief,’” a plaintiff seeking one must “make a ‘clear showing’ that they have

standing.” Barber v. Bryant, 860 F.3d 345, 352 (5th Cir. 2017) (quoting Winter v. Nat. Res. Def. Council,

Inc., 555 U.S. 7, 22 (2008)). Additionally, a preliminary injunction “should not issue absent a substantial

threat that the movant will suffer irreparable injury without one.” Google, Inc. v. Hood, 822 F.3d 212,

226 (5th Cir. 2016). Preliminary relief is thus warranted only if a plaintiff demonstrates “the presence

of an imminent, non-speculative irreparable injury.” Id. at 228; see Susan B. Anthony List v. Driehaus,

573 U.S. 149, 158 (2014) (noting that an injury sufficient for standing must be “concrete and

particularized” and “actual or imminent, not ‘conjectural’ or ‘hypothetical’” (citation omitted)).

“Allegations of possible future injury” or a “subjective fear” of future government action “are not

sufficient.” Clapper v. Amnesty Int’l USA, 568 U.S. 398, 409, 418 (2013) (cleaned up); see FDA v. All.

for Hippocratic Med., No. 23-235, slip op. at 8 (U.S. June 13, 2024) (“[T]he injury must have already

occurred or be likely to occur soon”). And even if an asserted injury arguably confers standing,

preliminary relief should still be denied if that injury is not likely to materialize “before a decision on

the merits can be rendered.” Winter, 555 U.S. at 22 (citation omitted).

        Here, Texas and Montana assert a variety of possible future injuries that the Rule will

purportedly cause, but none amounts to imminent irreparable harm. Accordingly, whether analyzed

as a matter of irreparable harm, Google, 822 F.3d a 226; standing, see Clapper, 568 U.S. at 409; ripeness,
see Google, Inc., at 225-26; or statutory preclusion of pre-enforcement jurisdiction, see Thunder Basin Coal

Co. v. Reich, 510 U.S. 200, 207-18 (1994), Plaintiffs’ demand for sweeping preliminary relief fails.

        Texas and Montana first assert that they have standing to challenge the Rule because the Rule,

“[b]y its own terms,” regulates both States. Motion at 3. The mere existence of a statute or rule on

the books, however, cannot itself amount to an injury in fact, let alone an irreparable one; a plaintiff

must still “assert an injury that is the result of a statute’s actual or threatened enforcement.” California v.

Texas, 593 U.S. 659, 670 (2021). Plaintiffs contend that HHS might find certain health programs that

each State administers to be noncompliant with the Rule and that they “may . . . lose their federal
funding as a result.” Motion at 3 (emphasis added); see id. at 4 (“Texas faces losing billions of dollars

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in federal healthcare dollars.”); id. at 5 (claiming that the Rule “unlawfully threatens to subject Montana

to . . . withdrawal of federal funding”). But this fear of “possible future injury,” Clapper, 568 U.S. at

409, is far too speculative to warrant preliminary relief.

        To start, neither Plaintiff claims that any of the policies or provisions governing the health

programs they administer are “based on unlawful animus or bias, or constitute a pretext for

discrimination,” which is what the Rule actually prohibits. 45 C.F.R. § 92.207(c); see id. 45 C.F.R.

§ 92.206(c); cf. Zimmerman v. City of Austin, 881 F.3d 378, 389 (5th Cir. 2018) (explaining that a plaintiff

lacked standing because he “failed to establish a serious intention to engage in conduct proscribed by

[the] law” he was challenging). Plaintiffs suggest that some of their laws and Medicaid policies that

bar the provision of and coverage for certain gender-affirming care will qualify as “discrimination”

under the Rule. Motion at 4. But Plaintiffs simply assume that their policies are noncompliant while

simultaneously arguing that there are “legitimate, nondiscriminatory reasons” for such policies, 45

C.F.R. § 92.207(c). See, e.g., id. at 5 (asserting that Montana is “attempting to protect its citizens from

harmful medical procedures”); Compl. ¶ 1 (alleging that Plaintiffs “refuse to provide or pay for

dangerous and experimental ‘gender-transition’ medical activities”). Any threat of future enforcement

is therefore “wholly conjectural” at this stage. Susan B. Anthony List, 573 U.S. at 163 (citation omitted).

        Even assuming for the sake of argument that OCR might, at some point, investigate whether

one of Texas’s or Montana’s health programs is potentially not compliant with the Rule, HHS would
still be obligated to “secure[]” Plaintiffs’ compliance “by voluntary means” before resorting to a

termination of federal funds. 20 U.S.C. § 1682; see 45 C.F.R. § 80.8(d).13 And such compliance at any

point during the investigative or enforcement process would preclude OCR from terminating

Plaintiffs’ funds. See 45 C.F.R. § 80.7(d)(1) (providing that if an investigation “indicates a failure to

comply,” the matter “will be resolved by informal means whenever possible”); id. § 80.10(f) (permitting

a recipient to “correct[] its noncompliance” to avoid a loss of funding even after a hearing examiner


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  Contrary to what Plaintiffs claim, merely having to cooperate with OCR during this process does
not “itself inflict[] injuries,” Motion at 3. See FTC v. Standard Oil Co. of Cal, 449 U.S. 232, 244 (1980)
(“Mere litigation expense, even [if] substantial . . . does not constitute irreparable injury.”).
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has found noncompliance); see also id. § 80.10(g)(1) (providing that a recipient subjected to an adverse

administrative order “shall be restored to full eligibility” to receive federal funding as soon as “it brings

itself into compliance”). Consequently, even a future investigation by OCR would by no means yield

the financial injury Plaintiffs allege. See Holland Am. Ins. Co. v. Succession of Roy, 777 F.2d 992, 997 (5th

Cir. 1985) (stating that “[s]peculative injury is not sufficient” to establish “a clear showing of

irreparable harm”). And even supposing OCR did seek to withhold funding for noncompliance, the

extensive procedures, culminating in judicial review, that § 1557 requires before any such decision can

take effect practically guarantees that Plaintiffs’ alleged financial injury here would not materialize

“before a decision on the merits can be rendered.” Winter, 555 U.S. at 22 (citation omitted).

        Plaintiffs’ asserted fear of potentially losing federal funding under the Rule does not warrant

preliminary relief here for many of the reasons described in Google, Inc. v. Hood, 822 F.3d 212 (5th Cir.

2016). In that case, the Fifth Circuit vacated a preliminary injunction enjoining Mississippi’s Attorney

General from bringing civil or criminal charges against Google for “facilitating dangerous and

unlawful activity through its online platforms” in violation of state law because “the possibility of

some future enforcement action,” according to the court, failed to “create[] an imminent threat of

irreparable injury.” 822 F.3d at 216, 228. As with Plaintiffs here, Google had not received “a formal

notice of intent to sue for specific conduct.” Id. at 227. The court thus explained that “adjudicating

whether federal law would allow an enforcement action” against Google would “require [the court] to
determine the legality of” Mississippi’s actions “in hypothetical situations,” id. (citation omitted)—a

problem that applies to this case as well. Accordingly, because OCR, like Mississippi in Google, Inc.,

would have “to gather considerable information” from Plaintiffs about their legitimate,

nondiscriminatory bases for their policies “before [it could] determine whether an enforcement action

is warranted,” the “prospect of” an enforcement action under the Rule—let alone any withholding of

funding—“is not sufficiently imminent or defined to justify an injunction” here. Id. at 228.

        Plaintiffs also assert that certain “required expenditures to demonstrate compliance with” the

Rule constitute an injury sufficient for both standing and preliminary relief. Motion at 3-4; see id. at
14. But Plaintiffs make no effort to describe—let alone “clearly show[]” Barber, 860 F.3d at 355—

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what those purported compliance costs are. Nor do they demonstrate that such costs are traceable to

the parts of the Rule they actually challenge. Cf. California, 593 U.S. at 678 (finding no standing where

certain “additional costs” were imposed by statutory provisions other than the one the plaintiffs were

challenging). For instance, even if Plaintiffs succeed on their claim that § 1557 does not prohibit

discrimination on the basis of gender identity, they would still be obligated to implement written

policies addressing other forms of discrimination (e.g., race, disability, etc.) and to provide training on

those policies. See 45 C.F.R. §§ 92.8-.9. Many of the Rule’s compliance provisions, moreover, have a

delayed effective date, meaning Plaintiffs very likely would not incur any related compliance costs

“before a decision on the merits is rendered” in this case. Winter, 555 U.S. at 22 (citation omitted). See

45 C.F.R. § 92.1(b) (providing that the effective date for § 92.8, which describes the “written policies

and procedures” requirement, is “[w]ithin one year of July 5, 2024”).

        In addition to their alleged financial injuries—none of which are sufficiently imminent to

warrant preliminary relief—Plaintiffs contend that the Rule will cause them to “face an imminent,

irreparable, sovereign injury,” Motion at 4, the precise contours of which are difficult to discern. Texas

and Montana both cite to their respective state laws prohibiting the provision of gender-affirming care

to minors and state-funded insurance coverage for such care, and Texas also cites an exclusion for

“[s]ex change operations” in its Medicaid program. Id. at 4-5. But to the extent Plaintiffs merely

contend that these laws and policies will be deemed noncompliant with the Rule and therefore result
in a loss of federal funds, see id. at 4 (claiming that “Texas faces losing billions of dollars in federal

healthcare dollars”), that theory of injury is indistinguishable from and just as speculative as their

financial injury theory. See id. at 3-4. And to the extent they argue that the Rule will irreparably

“prevent[]” them “from enforcing [their] laws,” id. at 5, the Rule does no such thing. The Rule does

not mandate “a specific standard of care or course of treatment for any individual,” 89 Fed. Reg. at

37,595, nor does its mere promulgation automatically affect state laws regulating the provision of

medical care or health insurance. The Rule simply requires that covered entities provide such care or

coverage in a nondiscriminatory manner, see 45 C.F.R. 92.101(a), and any restrictions on certain
medical care or exclusions from coverage mandated by state law will comply with the Rule so long as

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there are “legitimate, nondiscriminatory reason[s]” for them, id. §§ 92.206(c), 92.207(c). Accordingly,

Texas and Montana will not be “hindered from enforcing [their] laws” under the Rule, Harrison v.

Jefferson Par. Sch. Bd., 78 F.4th 765, 770 (5th Cir. 2023) (finding no standing in part because

“no . . . challenge to the enforceability of Louisiana’s law [was] present”), unless and until it is

determined that any such law is “based on unlawful animus or bias,” or “constitute[s] a pretext for

discrimination,” § 92.206(c).14 The sovereign injury Plaintiffs invoke is thus neither “actual” nor

“imminent.” Susan B. Anthony List, 573 U.S. at 158.

        Montana faces a separate redressability problem. It bases its asserted “sovereign injury” on its

belief that the Rule will interfere with its ability to enforce a state statute prohibiting the provision of

gender-affirming care to minors and the use of public funds “for the purposes of providing” such

treatment. Mont. Code Ann. § 50-4-1004. But that law has been preliminarily enjoined in state court.

See Van Garderen v. Montana, No. DV-23-541 (Mont. Fourth Jud. Ct. Sept. 27, 2023). Enjoining the

Rule here thus “would not remedy” Montana’s “alleged injury” because even with such relief, it still

would not be able to enforce § 50-4-1004. Haaland v. Brackeen, 599 U.S. 255, 292 (2023).

        Finally, Texas appears to separately assert that it will be harmed by the Rule in its capacity as

a health care provider. See Decl. of Eric Bentley ¶¶ 1-2, ECF No. 2-2 (stating that Texas Tech

University operates two “health science centers” that are “state of Texas institutions of higher

education” and “covered entities” under the Rule).15 As a threshold matter, a class-wide declaratory


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   Because the Rule does not, standing alone, “prevent[]” Texas or Montana “from enforcing [their]
laws,” the cases Plaintiffs cite in support of the proposition that such a sovereign injury “is itself an
irreparable harm,” Motion at 5, are inapposite. See, e.g., Abbott v. Perez, 585 U.S. 579, 602 (2018)
(addressing district court orders that “constituted injunctions barring the State from
conducting . . . elections pursuant to a statute enacted by the Legislature”); Planned Parenthood of Greater
Tex. Surgical Health Servs. v. Abbott, 734 F.3d 406, 409, 419 (5th Cir. 2013) (addressing a district court
injunction against a state statute pertaining to the performance of abortions).
15
   Montana does not similarly assert an injury as a health care provider. It therefore fails to show that
it will be imminently injured by, and thus has standing to challenge, provisions of the Rule that
specifically concern the provision of health care services. See, e.g., 45 C.F.R. § 92.206. Nor does
Montana even attempt to explain how it has standing to challenge such provisions on behalf of
“healthcare providers” potentially affected by the Rule, Motion at 5. See Vote.Org v. Callanen, 39 F.4th
297, 304 (5th Cir. 2022) (describing the requirements for third-party standing and noting that “the
Supreme Court has ‘not looked favorably upon’” such standing).
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judgment in Neese v. Becerra, 640 F. Supp. 3d 668 (N.D. Tex. 2022), precludes this particular theory of

irreparable harm. In November 2022, the Neese court certified the following class under Federal Rule

of Civil Procedure 23(b)(2): “All health-care providers subject to Section 1557 of the Affordable Care

Act.” Exhibit 1. The court also entered final judgment the same day that declares in relevant part

that “Section 1557 of the ACA does not prohibit discrimination on account of sexual orientation and

gender identity, and the interpretation of ‘sex discrimination’ that the Supreme Court adopted in

[Bostock] is inapplicable to the prohibitions on ‘sex’ discrimination” in Title IX and § 1557. Exhibit 2.

The Rule accordingly states that HHS “is not applying” the Rule’s interpretation of § 1557’s

prohibition on sex discrimination to include discrimination on the basis of gender identity and sexual

orientation “to members of the Neese class pending appeal.” 89 Fed. Reg. at 37,574 n.118.16 Because

the Neese class includes all health care providers subject to § 1557—including the Texas Tech facilities

Texas identifies here—any future harm to those facilities flowing from the Rule’s prohibition on

gender identity discrimination will only occur if the Neese judgment is overturned on appeal. Such

harm is thus too speculative at this stage to warrant preliminary relief.

        Texas’s provider-based theory of injury also fails on its own terms. More specifically, Texas

avers that the Rule will present the Texas Tech University System with “the impossible choice” of

being “threatened with the withdrawal of millions of dollars of healthcare funding unless [it] violate[s]

state law.” Motion at 4. But in addition to the fact that the Rule simply does not require health care
facilities to provide certain care, Texas fails to explain how a potential conflict with state law is a

cognizable injury that the state can assert as a healthcare provider (rather than as a sovereign). See Harrison,

78 F.4th at 770 (describing “federal preemption of state law” as a “sovereign interest”). Regardless,

Texas Tech fails to “demonstrate a serious intent to violate” the Rule such that it has standing to

challenge it here, Zimmerman, 881 F.3d at 389, and as with Texas and Montana, the withdrawal of

federal funds Texas Tech fears is too speculative and non-imminent to constitute irreparable injury,

see Google, Inc., 822 F.3d at 228.

16
 The defendants in Neese appealed to the Fifth Circuit, and that appeal is pending. See Neese v. Becerra,
No. 23-10078.
                                                      23
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III.    The Equities and the Public Interest Weigh Against a Preliminary Injunction

        The balance of equities and public interest considerations “merge when the Government is

the opposing party.” Nken v. Holder, 556 U.S. 418, 435 (2009). These factors tip decidedly against

preliminary relief here. As explained in detail above, Plaintiffs have failed to demonstrate that they

will suffer any substantial, imminent, and irreparable injury if the Rule goes into effect. Against this

non-existent showing of harm weighs the significant public interest in permitting enforcement of the

Rule to combat discrimination in health programs and activities receiving federal funds. It is well-

established that violations of federal civil rights statutes constitute irreparable harm. See EEOC v.

Cosmair, Inc., L’Oreal Hair Care Div., 821 F.2d 1085, 1090 (5th Cir. 1987). And a patient who is denied

basic medical care or insurance coverage simply because a provider or issuer wants to intentionally

penalize them for being transgender clearly suffers irreparable injury. See Lange v. Houston Cnty., 101

F.4th 793, 801 (11th Cir. 2024). Furthermore, when a law is stayed or enjoined, the government that

enacted it “necessarily suffers the irreparable harm of denying the public interest in the enforcement

of its laws.” Planned Parenthood of Greater Tex., 734 F.3d at 419. Enjoining the Rule would inflict that

very harm on the federal government here.

IV.     Any Relief Should Be Limited

        For the reasons explained above, no relief is warranted here. But in the event the Court were

to award any relief, such relief should be no broader than necessary to remedy any demonstrated
harms Plaintiffs themselves will suffer in this case. “A plaintiff’s remedy must be tailored to redress

the plaintiff’s particular injury,” Gill v. Whitford, 585 U.S. 48, 73 (2018), and “injunctive relief should

be no more burdensome to the defendant than necessary to provide complete relief to the plaintiffs,”

Madsen v. Women’s Health Ctr., Inc., 512 U.S. 753, 765 (5th Cir. 2018) (citation omitted).

        Consistent with these principles, then, any preliminary relief here should be limited to Plaintiffs

alone—that is, Texas and Montana, to the extent they qualify as “covered entities,” see 45 C.F.R. § 92.4.

The Fifth Circuit recently counseled that “judicial restraint” is warranted when crafting injunctive

relief, and district courts should consider “whether one district court should make a binding judgment
for the entire country.” Louisiana v. Becerra, 20 F.4th 260, 263 (5th Cir. 2021). Since then, three Justices

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of the Supreme Court concluded that a “district court’s universal injunction defied . . . foundational

principles” that “a federal court may not issue an equitable remedy ‘more burdensome . . . than

necessary’” to redress a plaintiff’s injuries. Labrador v. Poe ex rel. Poe, 144 S. Ct. 921, 923 (2024)

(Gorsuch, J., joined by Thomas, J. and Alito, J., concurring in the grant of the stay) (citation omitted);

see also Braidwood Mgmt., Inc. v. Becerra, _F.4th_, No. 23-10326, 2024 WL 3079340, at *15 (5th Cir. June

21, 2024) (“The parties recognize that [universal] injunctions are not ‘required or even the norm,’ and

several [J]ustices on the Supreme Court have viewed them with conspicuous skepticism.”).

        Plaintiffs’ invocation of § 705 of the APA does not change the inadvisability of a remedy that

extends to non-parties. That section provides that “[o]n such conditions as may be required and to

the extent necessary to prevent irreparable injury, the reviewing court . . . may issue all necessary and

appropriate process to postpone the effective date of an agency action or to preserve status or rights

pending conclusion of the review proceedings.” 5 U.S.C. § 705. In limiting such relief “to the extent

necessary to prevent irreparable injury,” id., the statute directs courts to apply traditional equitable

principles, which include tailoring relief to be no more intrusive than necessary to prevent irreparable

harm to the parties. Indeed, the House Report for the APA indicates that relief under § 705 should

“normally, if not always, be limited to the parties complainant.” Administrative Procedure Act, S. Doc.

No. 248, 79th Cong., 2d Sess. 277 (1946).

        In addition to being limited to the parties, any relief should be limited to the parts of the Rule
that Plaintiffs “actually challenge[].” Career Colleges, 98 F.4th at 255. And here, Plaintiffs exclusively

challenge the Rule’s interpretation of § 1557’s prohibition on sex discrimination to include

discrimination on the basis of gender identity. See 45 C.F.R. § 92.101(a)(2)(iv). Crucially, the

provisions of the Rule are severable, id. § 92.2(c), meaning the Court should, at most, only sever the

gender identity discrimination provision “while leaving the remainder” of the Rule “intact.” Ayotte v.

Planned Parenthood of N. New England, 546 U.S. 320, 328-29 (2006).

                                           CONCLUSION

        Plaintiffs’ Motion for Temporary Restraining Order, Preliminary Injunction, and Stay of
Agency Action should be denied.

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DATED: June 27, 2024                      Respectfully submitted,

                                          BRIAN M. BOYNTON
                                          Principal Deputy Assistant Attorney General

                                          MICHELLE R. BENNETT
                                          Assistant Director, Federal Programs Branch

                                          /s/ Zachary W. Sherwood
                                          ZACHARY W. SHERWOOD
                                          (IN Bar No. 37147-49)
                                          Trial Attorney
                                          BRADLEY P. HUMPHREYS
                                          Senior Trial Counsel
                                          LISA ZEIDNER MARCUS
                                          Senior Counsel
                                          LIAM C. HOLLAND
                                          JEREMY S.B. NEWMAN
                                          Trial Attorneys
                                          U.S. Department of Justice
                                          Civil Division, Federal Programs Branch
                                          1100 L Street, NW
                                          Washington, DC 20005
                                          Phone: (202) 616-8467
                                          Fax: (202) 616-8470
                                          Email: zachary.w.sherwood@usdoj.gov

                                          Attorneys for Defendants




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                                  CERTIFICATE OF SERVICE

       On June 27, 2024, I electronically submitted the foregoing document with the clerk of court

for the U.S. District Court, Eastern District of Texas, using the electronic case filing system of the

court. I hereby certify that I have served all parties electronically or by another manner authorized by

Federal Rule of Civil Procedure 5(b)(2).

                                                                       /s/ Zachary W. Sherwood
